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Case 3:18-cr-00077-MMD-WGC Document1 Filed 07/25/18 Page 1 of 10

 

DAYLE ELIESON FILED
United States Attorney
MEGAN RACHOW JUL 25 2018
Nevada Bar No. 8231
TE JUDGE
Assistant United States Attorney US StRICT OF | NEVADA
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Representing the United States of America
UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
3:18-mj-115-WGC
UNITED STATES OF AMERICA,
Plaintiff, COMPLAINT FOR VIOLATION OF:
v. Title 21, United States Code, Sections
841(a)(1) and (b)(1)(A)Gi)CID and (viii)-
HASEEB UR REHMA MALIK, and Possession with the Intent to Distribute a
Controlled Substance—Cocaine and
ABDUL MAJID, Methamphetamine (Count One)
Defendants.

 

 

 

 

BEFORE the Honorable William G. Cobb, United States Magistrate Judge, Reno,

Nevada, the undersigned complainant being first duly sworn states:
Count One
(Possession with the Intent to Distribute a Controlled Substance—Cocaine and
Methamphetamine)

On or about July 19, 2018, in the State and District of Nevada, HASEEB UR REHMA
MALIK and ABDUL MAJID, defendants herein, did knowingly and intentionally possess with
the intent to distribute at least five (5) kilograms or more of a mixture or substance containing a

detectable amount of cocaine, a Schedule II controlled substance and at least 500 grams or more

 
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Case 3:18-cr-00077-MMD-WGC Document1 Filed 07/25/18 Page 2 of 10

of a mixture and substance containing a detectable amount of methamphetamine, a Schedule II
controlled substance; all in violation of Title 21, United States Code, Sections 841(a)(1) and

841(b)(1)(A)(ii)(II) and (viii).

Complainant as a Special Agent with the Drug Enforcement Administration states there
is probable cause to arrest the above-named defendants as set forth in the attached affidavit.
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Case 3:18-cr-00077-MMD-WGC Document1 Filed 07/25/18 Page 3 of 10

AFFIDAVIT OF KAREN E. ROSSI

IN SUPPORT OF WARRANT APPLICATION

1. I, KAREN E. ROSSI of the Drug Enforcement Administration (DEA), Reno,
Nevada, being duly sworn, state as follows:

2. I am currently assigned as a Special Agent with the DEA Reno Resident Office.
I am a Special Agent of the United States Department of Justice, DEA, and have been so
employed since May of 1988. During my employment with the DEA, I have been assigned to
the Los Angeles Field Division, Santa Barbara Resident Office, and am currently assigned to the
Reno Resident Office in Reno, Nevada, since September 1996.

3. I received specialized training at the DEA training academy located in Quantico,
Virginia, in regards to the identification of narcotic substances and the operation of drug
trafficking organizations. I have been involved in the investigations of various individuals and
organizations involved in the manufacturing, distribution, and use of controlled substances. I
have participated in the preparation of affidavits and execution of numerous search and arrest
warrants for violations of Federal and State Drug Laws during my approximate 30 years of
federal law enforcement. I have conducted surveillance operations and have become familiar
with the methods used by individuals engaged in manufacturing, trafficking, and use of
controlled substances.

4. During the course of my law enforcement career with DEA, I have worked in the
company of other experienced law enforcement officers and have discussed their investigative
techniques and their investigative experiences. I also have had numerous contacts with other law
enforcement agents and police officers concerning the methods used by persons dealing in

controlled substances. My experience includes contacts with people associated with the illegal

 
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Case 3:18-cr-00077-MMD-WGC Document1 Filed 07/25/18 Page 4 of 10

trafficking of controlled substances and knowledge of their methods used in obtaining, storing,
manufacturing, transporting, and distributing illegal narcotics as well as their record keeping
practices in concealment of the proceeds derived from the sale of controlled substances.

5. The information contained in this affidavit is based upon my personal
observations, investigation or information relayed to me by other law enforcement officers. The
information provided in this affidavit is not each and every fact known to me, but rather,
sufficient information to establish probable cause.

6. Because this affidavit is being submitted for the limited purpose of establishing
probable cause for the issuance of a criminal complaint, I have not set forth each and every fact
I learned as a result of this investigation. Rather, I have set forth only those facts I believe are
necessary to establish probable cause that a violation of federal law has been committed.

7. Based on the investigation described in this affidavit, there is probable cause to
believe that HASEEB UR REHMA MALIK (“Malik”) and ABDUL MAJID (“Majid”) did
commit the following offenses which violate federal criminal law, specifically, Possession with
the Intent to Distribute a Controlled Substance—Cocaine and Methamphetamine, in violation of
Title 21, United States Code, Sections 841(a)(1) and (b)(1)(A)(ii)D and (viti).

FACTS SETTING FORTH PROBABLE CAUSE

8. On July 19, 2018, at approximately 9:04 PM, Trooper Chris Garcia observed a
Commercial Motor Vehicle (CMV) traveling Northbound on US93 near mile marker 58 White
Pine. He visually estimated the CMV to be travelling 70 miles per hour (MPH) which is in excess
of the 60 MPH posted speed limit. He confirmed the vehicle to be traveling at 71 MPH by Radar
and locked the target vehicle’s speed in at 71 MPH on his Radar. Trooper Garcia conducted an

enforcement stop on the CMV, the driver brought the CMV to a stop at approximately mile

 
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Case 3:18-cr-00077-MMD-WGC Document1 Filed 07/25/18 Page 5 of 10

 

marker 59 White Pine. The aforementioned location is in the County of White Pine, State of
Nevada.

9. Trooper Garcia made a passenger side approach to the vehicle, the dirt shoulder
in the area of the stop was steep, making it difficult for him to make contact with the unknown
number of occupants in the CMV. The engine of the CMV was still on while he was standing at
the passenger door attempting to make contact, the driver eventually moved to where Trooper
Garcia could see him at the passenger side window. Trooper Garcia asked him “do you mind
opening this” referring to the door, the driver then opened the passenger door. Trooper Garcia
then stepped up on to the steps for ease of contact. Trooper Garcia asked the driver if there was
anyone in the back and observed the curtains to the sleeper area to be closed. The driver indicated
that his co-driver was in the back and Trooper Garcia had the driver open the curtain and
observed a male subject in the sleeper area of the tractor. He identified himself as Trooper Garcia
with the Highway Patrol and advised the driver that the reason for the stop was his speed. During
his contact with the occupants, he detected the odor consistent with that of marijuana emitting
from within the passenger compartment and /or driver. He asked the driver for his license and
paperwork. While he was retrieving the requested items, Trooper Garcia asked if they had any
marijuana in the truck which the driver quickly denied. He then asked the other occupant if he
had any marijuana, and the passenger also denied having any. Trooper Garcia asked the driver
if he smokes and the driver indicated that he does smoke. As Trooper Garcia was referring to
marijuana, he clarified by asking the driver if he smokes marijuana, he again denied it. The
trooper then asked if he smokes on his days off and the driver admitted to smoking marijuana
by saying “yeah in Calgary, yeah.” Trooper Garcia then asked the other occupant if he also
smokes weed, he stated that he does sometimes. The trooper asked if they had a little bit in the

truck still and advised them that the truck smells like it. The driver then admitted to having some

 
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Case 3:18-cr-00077-MMD-WGC Document1 Filed 07/25/18 Page 6 of 10

marijuana in the truck that morming. Trooper Garcia asked him where it was, he indicated that
he had it in his pack of cigarettes, but that he threw the rest of it out. The driver also admitted to
smoking marijuana earlier in the day, approximately six (6) or seven (7) hours earlier. Trooper
Garcia then returned to his patrol vehicle.

10. The driver of the CMV was identified by his Alberta Driver’s License as Malik,
Haseeb Ur Rehma, “Malik.” The second occupant was later identified by his Canadian Passport
and his Alberta Operator’s License as Majid, Abdul, “Majid.” When Trooper Garcia returned
to his patrol vehicle, he made contact with Commercial Trooper A. Zehr #201 inquiring about
the situation involving the marijuana and a CMV. Trooper Zehr advised that it is an automatic
24-hours out of service and that they would be able to do a probable cause search. As Trooper
Garcia is not a commercial trooper and did not have any commercial enforcement specific
certifications, he was unsure if he was able to place the driver out of service or if a commercial
unit was needed. Trooper Zehr indicated that after he was done with the stop he was on, that he
would be en route to assist Trooper Garcia. Trooper Zehr arrived on scene of the stop at
approximately 9:36 PM and remained on scene throughout the remainder of the contact. Trooper
Garcia advised Trooper Zehr of the specifics of the stop. The troopers then went to the CMV and
had both occupants exit. Trooper Zehr asked Malik and Majid who smoked the marijuana. Malik
the driver, admitted to Trooper Zehr that he was the one who smoked it, this time he indicated
that it was three (3) or four (4) hours earlier. Trooper Zehr inquired as to where the marijuana
was. Malik again claimed that he threw it out. Majid then asked Malik if he was sure that it
wasn’t inside in the garbage or in the pack still, Malik continued to say that he was sure he threw
it out.

11. Trooper Zehr advised Trooper Garcia that they had probable cause to search the

CMV as it is a zero tolerance to possess or be under the influence of Marijuana in a CMV and

 
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Case 3:18-cr-00077-MMD-WGC Document1 Filed 07/25/18 Page 7 of 10

that according to Commercial Federal Regulations adopted by the state of Nevada under NAC
706.247, they should place the driver out of service for 24 hours. According to the Federal Motor
Carrier Safety Act, “Marijuana continues to be classified as a Schedule I controlled substance by
the Drug Enforcement Administration (DEA) in 21 CFR § 1308.11. Under the Federal Motor
Carrier Safety Regulations (FMCSRs), a person is not physically qualified to drive a CMV if he
or she uses any Schedule I controlled substance such as marijuana. (See 49 CFR §§ 391.11(b)(4)
and 391.41(b)(12)). In addition to the physical qualification requirements, the FMCSRs prohibit
a driver from being in possession of or under the influence of any Schedule I controlled
substance, including marijuana, while on duty, and prohibit motor carriers from permitting a
driver to be on duty if he or she possesses, is under the influence of, or uses a Schedule I
controlled substance. (See 49 CFR §§ 392.2 and 392.4)” Furthermore, the legalization of
marijuana use by States and other jurisdictions does not supersede the federal regulations that
govern the trucking industry. Based on this information, Trooper Garcia began a probable cause
search of the CMV.

12. During the search of the sleeper area, Trooper Garcia opened a built in cabinet
and observed white plastic trash bags containing numerous items that appeared to be similar in
shape and size. At first look it looked like the trash bags possibly contained paperback books.
Trooper Garcia removed one of the unknown items out of one of the bags and observed it to be
one of multiple items that were similar in shape and size. The packaging on the exterior consisted
of masking tape, which based on Trooper Garcia’s training and experience, was consistent with
that of illegal narcotic packaging. He placed the package back in the bag, exited the CMV and
directed Trooper Zehr to the cabinet to see the located items. Once Trooper Zehr located the said
items, he asked for a knife. Trooper Zehr made a small cut into one of the packages which

revealed a white powdery substance.

 

 
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Case 3:18-cr-00077-MMD-WGC Document1 Filed 07/25/18 Page 8 of 10

13. Trooper Zehr retrieved a NIK Type G Test kit from his patrol vehicle and used
the kit test on a sample of the white powdery substance that he removed from the package he cut
into. The substance tested presumptively positive for the presence of Cocaine. Trooper Garcia
then advised Malik and Majid that they were both under arrest and read them their Miranda
warnings. Both invoked their rights indicating they did not want to answer any questions. The
troopers decided that based on the suspected amount of illegal narcotics present that they would
stop the search at the located items, have the CMV transported to town, seal the CMV and apply
for a search warrant.

14. Trooper Zehr placed Nevada Highway Patrol trailer seal no. 0001433 on the
CMV’s trailer. Battleborn Towing arrived on scene to transport the CMV to their tow yard
located in Ely. Trooper Garcia followed the CMV as it was transported to the tow yard,
maintaining visual contact with the CMV until it arrived at the tow yard. Trooper Garcia then
sealed the CMV pending a search warrant. He applied for a search warrant from the Ely Justice
Court Justice of the Peace Stephen Bishop. Justice of the Peace Stephen Bishop granted the
search warrant of the 2018 Freightliner Cascadia Alberta commercial registration E11142 and
the attached 53’ white box trailer with Alberta commercial registration SMR394.

15. | At approximately 12:49 AM on July 20, 2018, Trooper Garcia and Trooper Zehr
executed the search warrant on the aforementioned CMV. During the search of the tractor, in the
same cabinet the suspected Cocaine was located in, there was packaging items including a box
of white plastic trash bags, two pair of latex gloves, packing tape, and items possibly used to
conceal odor including large packs of Cayenne Pepper and three cans of Glade air freshener. The
located box of white plastic trash bags was consistent with that of which the suspected Cocaine
was located. Cayenne pepper is known to be used in the packaging process of illegal narcotics

in an attempt to conceal the odor of illegal narcotics from law enforcement and/or law

 

 
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Case 3:18-cr-00077-MMD-WGC Document1 Filed 07/25/18 Page 9 of 10

enforcement canines. Located in a black garbage bag in the tractor was a pair of gloves that
appeared to have been used, as they were turned inside out, the gloves appeared to match the two
pair of latex gloves located in the cabinet with the packaging supplies.

16. | Trooper Garcia raised the lower bed which revealed a storage area under the bed.
Located in the center of the storage area were two (2) large suitcases black and blue in color.
Upon opening the suitcases, both contained numerous packages wrapped in a saran wrap type
plastic. The packaging was consistent with that of packaging of illicit controlled substances for
transport. Both suitcases and their contents were taken for evidence. On the top bunk in the
sleeper, Trooper Garcia observed blankets stacked on top of unknown items that were toward
the passenger side of the sleeper area. Upon moving the blankets, he observed three black duffel
bags. Upon opening the duffel bags, all three duffel bags contained numerous packages sealed
in Food Saver type packaging, the packaging was consistent with that of packaging of illicit
controlled substance for transport. Upon closer look, the troopers found that some of the
packages had been cut into. The three black duffel bags and their contents were taken for
evidence.

17. On July 20, 2018, Trooper Garcia along with Trooper K. Barney, Trooper T.
Deeds, Trooper E. Boynton, Sgt. Brewer and Detective T. Sifre processed the suspected
controlled substances which included testing, weighing, labeling and sealing for evidence. The
two substances identified by presumptive testing were Cocaine and Methamphetamine. At the
conclusion of the packaging, testing and weighing process it was determined that a total of
61,403 GG (135.36 LBS) of suspected Cocaine and a total of 51,833 GG (114.27 LBS) of
suspected Methamphetamine were collected from the CMV.

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Case 3:18-cr-00077-MMD-WGC Documenti1 Filed 07/25/18 Page 10 of 10

CONCLUSION
18. Based on the foregoing facts and evidence, I believe that probable cause
exists to believe that HASEEB UR REHMA MALIK (“Malik”) and ABDUL MAJID (“Majid”)
did commit the following offense which violates federal criminal law, specifically, Possession
with the Intent to Distribute a Controlled Substance—Cocaine and Methamphetamine, in

violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(A)(ii)(ID and (viii).
I declare under penalty of perjury that the statements above are true and correct to the

Lu.

Karen Rossi, Special Agent
Drug Enforcement Administration

best of my knowledge and belief.

SUBSCRIBED and SWORN to before me on
this 25 Say of July, 2018.

iat. Coty.

HONORABLE WILLIAM G. COBB.
UNITED STATES MAGISTRATE JUDGE

 
